                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                       )
                                                 )
              Plaintiff,                         )
                                                 )
 v.                                              )       No.:   3:10-CR-161-3
                                                 )              (VARLAN/SHIRLEY)
 MAIMOUNE WRIGHT,                                )
                                                 )
              Defendant.                         )


                                         ORDER

       This criminal case is before the Court for consideration of the Report and

 Recommendation entered by United States Magistrate Judge C. Clifford Shirley, Jr., on

 November 10, 2011 (the “R&R”) [Doc. 107]. There have been no timely objections to the

 R&R, and enough time has passed since the filing of the R&R to treat any objections as

 having been waived. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); Fed. R. Crim. P. 51.

 In the R&R, Magistrate Judge Shirley recommends that the Motion to Suppress Defendant

 Wright’s Statements Regarding Pre-signed Prescriptions [Doc. 64] be denied.

       After a careful review of the R&R, the Court is in agreement with Magistrate Judge

 Shirley’s recommendation, which the Court hereby adopts and incorporates into its ruling.

 Accordingly, the Court ACCEPTS IN WHOLE the R&R [Doc. 107] and the Motion to




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 Suppress Defendant Wright’s Statements Regarding Pre-signed Prescriptions [Doc. 64] is

 hereby DENIED.

       IT IS SO ORDERED NUNC PRO TUNC December 9, 2011.



                                        s/ Thomas A. Varlan
                                        UNITED STATES DISTRICT JUDGE




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